                     IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                                SOUTHERN DIVISION


UNITED STATES OF AMERICA,                               )
                                                        )
                        Plaintiff,                      )
                v.                                      ) Criminal Action
                                                        ) No. 05-03096-17-CR-S-RED
DEVIN J. GREEN,                                         )
                                                        )
                       Defendant.                       )



 REPORT AND RECOMMENDATION OF UNITED STATES MAGISTRATE JUDGE

        Pursuant to 28 U.S.C. § 636(b), the above-styled criminal action was referred to the

undersigned for preliminary review. This matter comes before the Court on defendant’s Motion to

Suppress Evidence and Statements. The government has responded.

        Defendant asserts that evidence seized as a result of a federal search warrant executed on

January 30, 2005, should be suppressed. He contends that the warrant was defective because it

lacked probable cause to be valid under the Fourth Amendment. Defendant asserts that the

complaint and affidavit fail to set forth sufficient facts for a judge to find probable cause to issue the

search warrant. Further, defendant contends that law enforcement officers did not show objective

good faith in relying on the warrant because it was so lacking in any indicia of probable cause to

render official belief in its existence unreasonable.

        The law is clear that a warrant is supported by probable cause                if, “given all the

circumstances set forth in the affidavit . . ., including the ‘veracity’ and ‘basis of knowledge’ of

persons supplying hearsay information, there is a fair probability” that contraband or evidence of

a crime will be found in the place to be searched. United States v. Edmiston, 46 F.3d 786, 789 (8th




       Case 6:05-cr-03096-RED             Document 266         Filed 02/03/06       Page 1 of 4
Cir. 1995), quoting Illinois v. Gates, 462 U.S. 213, 238 (1983). Affidavits should be read in a

“common-sense and realistic fashion” and judges must make a practical decision based on the

totality of the circumstances. United States v. Gladney, 48 F.3d 309, 312 (8th Cir. 1995) (citation

omitted). In determining for suppression purposes the validity of a warrant, the court must

determine whether there was a “substantial basis” for the probable cause determination. Gates, 462

U.S. at 238.   “When we review the sufficiency of an affidavit supporting a search warrant, great

deference is accorded the issuing judicial officer.” U.S. v. Fulgham, 143 F.3d 399, 400-01 (8th Cir.

1998) (citation omitted).

       In this case, the affidavit filed in support of the search warrant, signed by Daniel Banasik,

Drug Task Force Officer with the DEA, states that an investigation began in the winter of 2003,

focusing on a drug distribution network involving Damien Foxx. The investigation included

confidential source statements, intelligence reports, pen register data, and surveillance. The

investigation indicated that Foxx distributed marijuana to numerous individuals throughout

Springfield, Missouri, and that one of these individuals had been identified as defendant, with his

address given as 1432 E. Pacific, Springfield.       Based on intelligence gathered during the

investigation, a Title III Wire Intercept was initiated on Damien Foxx’s cellular telephone. Through

telephone conversations that were intercepted, information was gleaned that defendant had a

conversation with Foxx on December 1, 2004, and again on the 3rd, which involved drug

transactions and setting up a marijuana delivery at defendant’s residence. Subsequent to the second

call, Foxx was observed going to defendant’s residence at 1432 E. Pacific. Intelligence gathered

from the wiretap indicated that Foxx was delivering marijuana to that address. On December 5,

2004, Foxx once again contacted defendant and later went to defendant’s residence. Later the same

evening, Foxx noticed that he was being followed, and called defendant to alert him. The affidavit




       Case 6:05-cr-03096-RED          Document 266        Filed 02/03/06      Page 2 of 4
also indicates that additional conversations regarding drug transactions between the two were

intercepted on December 18, 2004, December 20, 2004, and December 29, 2004. On January 19,

2005, officers intercepted drug-related conversations between Foxx and defendant, after which

officers conducting surveillance observed Foxx’s vehicle at defendant’s residence. Based on this

information, Officer Banasik sought a search warrant for 1432 E. Pacific, stating that he believed

evidence of illegal drug trafficking would be found there.

       It is defendant’s contention that the information contained in the affidavit in support of the

search warrant was insufficient to establish probable cause.

       The government counters that there was a substantial basis to support a probable cause

determination in this case, based on the information gathered during the Title III wire monitoring,

the personal observations of the officers conducting the investigation, and the circumstances of the

observations. It is asserted that the pattern observed by the officers in this case, which involved

contacts being made between Foxx and defendant to arrange for drug deliveries, Foxx’s arrivals and

departures at 1432 E. Pacific, which occurred contemporaneously with these negotiations, and

subsequent conversations between the two, indicates that 1432 E. Pacific was defendant’s residence.

Further, even if this were not the case, the government maintains the Leon’s good faith exception

would apply.

       Having fully reviewed the application for the search warrant and affidavit in support of that

application, the Court finds that, based on the totality of the circumstances, there was a substantial

basis to support the issuance of the search warrant in this case. Given the on-going investigation

of Damien Foxx, the Title III wire monitoring, the number of telephone conversations regarding

drug transactions between Foxx and defendant, and the fact that there were contemporaneous visits

made by Foxx to 1432 E. Pacific after these conversations, the Court finds that it cannot seriously




       Case 6:05-cr-03096-RED           Document 266         Filed 02/03/06      Page 3 of 4
be argued that there was not sufficient probable cause to support the search warrant’s issuance.

Under the totality of the circumstances standard, the Court finds that there was a “substantial basis”

for the probable cause determination. Gates, 462 U.S. at 238. In the affidavit, Officer Banasik

stated that electronic surveillance indicated that defendant was engaging in narcotic activity at his

residence. Officer Banasik summarized several wire interceptions of telephone conversations,

including conversations in which defendant set up drug transactions with a known drug distributor

in the area. Contrary to defendant’s argument, the Court finds that the intercepted conversations,

as well as visual surveillance, which placed Foxx at defendant’s residence after these conversations,

established probable cause to believe that defendant was engaging in drug activity at 1432 E.

Pacific. See United States v. Adams, 401 F.3d 886, 892-93 (8th Cir. 2005).

       Even if that were not the case, however, Leon’s good faith exception should apply. There

is nothing to suggest that the affidavit is so lacking in indicia of probable cause that the Leon good

faith exception should not apply, and that the search was not lawful.

       Accordingly, it will be recommended that the motion to suppress evidence must be denied.

       For the foregoing reasons, it is, pursuant to the governing law and in accordance with Local

Rule 22 of the United States District Court for the Western District of Missouri,

       RECOMMENDED that defendant’s Motion to Suppress Evidence should be denied.

                                                      /s/ James C. England
                                                      JAMES C. ENGLAND, Chief
                                                      United States Magistrate Judge


 Date: February 3, 2006




       Case 6:05-cr-03096-RED           Document 266         Filed 02/03/06      Page 4 of 4
